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                                                Gov’ts Index of Electronic Evidence
                                                 Bates Range Nos.: Gov007484-7523
     1B41   Digital   (                                                                                                          Gateway Desktop -        Gov007512
                                                                                                           Serial Number XBG8631004740
     1B34   Digital                                                                                        (                        FedEx Office USB 16   Gov007513
                                                                                                           GB
     1B33   Digital                                                                                                                 SanDisk USB 8 GB      Gov007514


SE   1B31   Digital                                                                                                                 Apacer microSD 8 GB   Gov007515
                                                                                                           with adaptor
SE   1B26   Digital                                                                                                              HP Laptop - Model 17-    Gov007516
                                                                                                           by1053dx, Serial Number 5CG938BY3C;
                                                                                                           Powercord
     1B24   Digital                                                                                                                Pink iPhone            Gov007517


SE   1B23   Digital                                                                                                                FedEx Office USB 16    Gov007518
                                                                                                           GB
SE   1B20   Digital                                                                                                             Dell XPS8930 Desktop      Gov007519
                                                                                                           - Service Tag HSW9CP2
SE   1B17   Digital                                                                                        (U) Blu Tracfone cellular telephone, S/N       Gov007520
                                                                                                           1080016023119675



     1B3    Digital                                                                                        (U) TLC Cellular telephone                     Gov007521




     1B2    Digital                                                                                        (U) Cellular telephone, Model U319AA           Gov007522




SE   1B1    Digital                                                                                        (U) Samsung cellular telephone                 Gov007523




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